        Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 1 of 15



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 DAVID J. BOSHEA,         *
                          *
     Plaintiff,           *
                          *
     v.                   *   Case No. 1:21-CV-00309-ELH
                          *
 COMPASS MARKETING, INC., *
                          *
     Defendant.
                          *
 ***********************************************

 MOTION IN LIMINE TO ALLOW DAVID J. BOSHEA TO ALLOW EVIDENCE AND
   ARGUMENT TO ENFORCE THE MULTI-YEAR SEVERANCE PROVISION

       David Boshea moves in limine for an Order allowing him to present evidence and argument

showing he may enforce the multi-year severance provision in the employment agreement between

the parties. In support, David Boshea states:

                                           INTRODUCTION

       The question before the Court concerns whether David Boshea may seek to recover more

than one year’s severance if the jury finds that David Boshea and Compass Market, Inc. entered

into an oral employment agreement Through this motion in limine, David Boshea asks the Court

to order as a matter of law that the Statute of Frauds does not limit his recovery of the full $540,000

in severance.

                             THIS MOTION IS PROPERLY PRESENTED

       As this Court has identified the purpose of motions in limine,

         Motions in limine help to streamline a case, because such motions “enable( ) a
         court to rule in advance on the admissibility of documentary or testimonial
         evidence and thus expedite and render efficient a subsequent trial.’ “ INSLAW,
         Inc. v. United States, 35 Fed. Cl. 295, 303 (1996) (citation
         omitted); see Changzhou Kaidi Elec. Co., Ltd. v. Okin America, Inc., 102 F.
         Supp. 3d 740, 745 (D. Md. 2015) (motions in limine ”are ‘designed to narrow
         the evidentiary issues for trial and to eliminate unnecessary trial interruptions.’
         “ (internal quotation omitted)).
          Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 2 of 15



           Norris v. PNC Bank, N.A., No. CV ELH-20-3315, 2022 WL 5054099, at *2 (D.
           Md. Oct. 4, 2022).

          Granting this motion will expedite the determination of evidentiary issues before trial and

streamline the testimony presented.

                    THE MARYLAND STATUTE OF FRAUDS LIMITS THE ENFORCEMENT
                   OF CONTRACTS THAT CANNOT BE PERFORMED IN ONE YEAR

          Maryland Statute of Frauds, C.J. § 5-901, titled “Executory contracts,” provides (emphasis

added):

           Unless a contract or agreement upon which an action is brought, or some
           memorandum or note of it, is in writing and signed by the party to be charged or
           another person lawfully authorized by that party, an action may not be brought:
           (1) To charge a defendant on any special promise to answer for the debt, default,
           or miscarriage of another person;
           (2) To charge any person on any agreement made on consideration of marriage;
           or
           (3) On any agreement that is not to be performed within 1 year from the making
           of the agreement.
           Id.

          Generally, the Maryland statute of frauds bars the enforcement of a contract that cannot be

performed within one year unless the agreement “or some memorandum or note of it, is in writing

and signed by the party to be charged.” Salisbury Bldg. Supply Co. Inc. v. Krause Marine Towing

Corp., 162 Md. App. 154, 160, 873 A.2d 452, 456 (2005) (citing C.J. § 5-901(3) and General

Federal Construction, Inc. v. James A. Federline, Inc., 283 Md. 691, 693, 393 A.2d 188 (1978)).

                     DAVID BOSHEA WAS AN AT WILL EMPLOYEE WHOSE
                    EMPLOYMENT COMPASS COULD TERMINATE AT ANY TIME

          David Boshea contends that he and John White, on Compass’ behalf, agreed to an

employment agreement, both orally and in writing. Without regard to whether they signed the

contract, the parties’ agreement contained the terms outlined in the Compass Marketing, Inc.

Agreement Relating to Employment and Post-Employment Competition attached as Exhibit A.

                                                   2
        Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 3 of 15



       Article 6 of the agreement provided:

        If Employee’s employment is terminated by COMPASS for any reason other
        than Cause Employee shall receive severance payments totaling $180,000 (one
        hundred and eighty thousand U.S. dollars) which will be divided into twenty-
        four payments and will commence with the Employee’s effective date of
        termination and shall be made in accordance with COMPASS’s normal payroll
        cycle. The period during which Employee receives severance payments shall be
        referred to as the “Severance Pay Period.” Severance will increase one month
        for every month employed to a maximum severance of $540,000.
        …
        If Employee is terminated by COMPASS for reasons other than CAUSE,
        Employee will receive the severance payments during the Severance Pay Period
        even if Employee commences other employment during such period provided
        such employment does not violate the terms of Article 1, 2, 3 and 4 of this
        Agreement.
        Employment Agreement, Article 6 at p. 3-4.

       As noted above, a party generally cannot enforce a contract that cannot be performed in

one year absent the agreement “or some memorandum or note of it, is in writing and signed by the

party to be charged.” Salisbury Bldg. Supply Co. Inc. v. Krause Marine Towing Corp., 162 Md.

App. 154, 160, 873 A.2d 452, 456 (2005) (citing C.J. § 5-901(3) and General Federal

Construction, Inc. v. James A. Federline, Inc., 283 Md. 691, 693, 393 A.2d 188 (1978)). However,

the general rule does not apply in this case since no doubt exists that the agreement could have

been performed within the initial year. Specifically, the agreement allowed Compass to terminate

David Boshea at any time for or without cause. Thus, under Maryland law, David Boshea was an

at-will employee. “In Maryland, an employment contract of indefinite duration is considered

employment “at will” which, with few exceptions, may be terminated without cause by either party

at any time.” Castiglione v. Johns Hopkins Hosp., 69 Md. App. 325, 338, 517 A.2d 786, 792

(1986); see also Adler v. Am. Standard Corp., 291 Md. 31, 35, 432 A.2d 464, 467 (1981);

Molesworth v. Brandon, 341 Md. 621, 628–29, 672 A.2d 608, 612 (1996).




                                               3
        Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 4 of 15



       In Griffith v. One Inv. Plaza Associates, 62 Md. App. 1, 5, 488 A. 2d 182, 183 (1985), the

parties entered into an oral agreement, terminable at will by either party, in which neither party

alleged a term of employment. The Griffith court determined that the parties’ oral contract

constituted a contract of indefinite duration. In discussing when the Statute of Frauds barred a

claim, the court noted that “there are two sets of circumstances under which the one-year provision

of the Statute of Frauds will bar a claim. One occurs when the parties “ ‘expressly and specifically’

agreed that their oral contracts were not to be performed within one year.” Id. at 5, 184 (quoting

Sun Cab Co. v. Carmody, 257 Md. 345, 350, 263 A. 2d 1 (1970)). “The other occurs when it is

impossible by the terms of the contract for it to be performed fully within one year.” Griffith, at 5,

184.

       Under Subsection (3) of § 5-901, an enforceable contract exists if the parties can possibly

perform it within one year from the date of contracting, whether or not it is not in writing.

         First, Maryland law is clear that § 5-901 does not apply “when a contract can be
         completed within the span of a year by any possibility, even if the parties
         intended for the contract to extend for a longer period of time.” Lacy v. Arvin,
         140 Md. App. 412, 429 n.5 (2001) (emphasis in original). See also Pitman v.
         Aran, 935 F. Supp. 637, 648 (D. Md. 1996) (“Maryland courts have strictly
         applied the ‘one year’ provision of the Statute of Frauds, whereby the statute
         will not apply where the contract can, by any possibility, be fulfilled or
         completed in the space of a year.”) (cleaned up).
         Pearson v. Sharpe, No. 1504, Sept. term, 2020, 2022 WL 1498734, at *4 (Md.
         Ct. Spec. App. May 12, 2022).

       In Pearson, the defendant asked to borrow $71,422.74 from the plaintiff, Pearson, to be

repaid in installments of $1,500.00 per month. While the agreement contemplated payments over

almost 48 months, the court noted that the defendant could have paid Pearson within one year and,

therefore, held the Statute of Frauds did not bar her recovery.

       The Restatement (Second) of Contracts § 130 (1981) explains that the Statute of Frauds

does not prevent the enforcement of Compass’ promise to pay the full severance.

                                                  4
        Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 5 of 15



         § 130 Contract Not to Be Performed Within a Year
         •   (1) Where any promise in a contract cannot be fully performed within a
             year from the time the contract is made, all promises in the contract are
             within the Statute of Frauds until one party to the contract completes his
             performance.
         •   (2) When one party to a contract has completed his performance, the one-
             year provision of the Statute does not prevent enforcement of the promises
             of other parties.
         Restatement (Second) of Contracts § 130 (1981)

       First, the parties could have performed the contract within the first year. Had Compass

terminated David Boshea on the second day of his employment, Compass would have owed

$180,000 to David Boshea. If Compass had refused to pay the severance, the Statute of Frauds

would not have prevented David Boshea from enforcing the contract.

       Compass employed David Boshea from 2007 to 2020. Without a doubt, if the jury

determines that the parties signed the employment agreement, Compass owes David Boshea

$540,000 in severance. If the jury finds the employment agreement was oral, the question arises

as to whether the Statute of Frauds bars David Boshea from receiving the full severance amount

rather than severance for only the first year. The Restatement (Second) of Contracts § 130

comment states that contracts of indefinite duration fall entirely outside the Statute of Frauds:

         a. Possibility of performance within one year. The English Statute of Frauds
         applied to an action “upon any agreement that is not to be performed within the
         space of one year from the making thereof.” The design was said to be not to
         trust to the memory of witnesses for a longer time than one year, but the statutory
         language was not appropriate to carry out that purpose. The result has been a
         tendency to construction narrowing the application of the statute. Under the
         prevailing interpretation, the enforceability of a contract under the one-
         year provision does not turn on the actual course of subsequent events, nor
         on the expectations of the parties as to the probabilities. Contracts of
         uncertain duration are simply excluded; the provision covers only those
         contracts whose performance cannot possibly be completed within a year.
         Restatement (Second) of Contracts § 130 (1981)(Emphasis supplied).

       The bolded portion of the Restatement speaks directly to the issue here.

                                                 5
        Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 6 of 15



       The Restatement also contains an illustration concerning an employment contract that goes

well beyond the situation in this lawsuit.

         Illustrations:
         •    2. A orally promises to work for B, and B promises to employ A during A’s
              life at a stated salary. The promises are not within the one-year provision of
              the Statute, since A’s life may terminate within a year.
         Restatement (Second) of Contracts § 130 (1981).

              BOSHEA CAN COLLECT MORE THAN ONE YEAR OF DAMAGES UNDER
             THE EMPLOYMENT AGREEMENT’S MULTI-YEAR SEVERANCE PROVISION

       Even though this Court previously determined the Statute of Frauds does not apply to the

employment agreement between Boshea and Compass Marketing because it is possible for it to

have been performed within a year, Boshea may enforce the multi-year severance provision in the

contract. Although there does not appear to be any case law in Maryland on this issue, Boshea

looked to other jurisdictions to determine whether he was entitled to enforce the multi-year

severance provision because the Statute of Frauds does not apply to the employment agreement.

       David Boshea and Compass entered into an executory contract that continued unless

Compass terminated David Boshea either for or without cause. After he worked for Compass

nearly thirteen years, Compass terminated David Boshea without cause. Since David Boshea

worked beyond the three years required to vest in the full severance amount contained in the

employment agreement, he is entitled to full payment even if the parties’ contract was oral. “[T]he

Statute of Frauds is a bar only to proof of executory, that is unperformed, contracts and is not a bar

to proof of executed contracts.” Aldape v. State, 98 Idaho 912, 913, 575 P.2d 891, 892 (1978).

Since David Boshea worked at Compass from 2007 to 2020, and Compass terminated his

employment, the parties no longer had an executory contract.

       The decision in Zulke v. AC&DC Power Technologies, LLC, 356 Ga. App. 299, 846 S.E.2d

624 (2020) is instructive since it concerns facts that correlate to those present here. A former
                                                  6
        Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 7 of 15



employee brought an action against his former employer for breach of an employment contract.

The plaintiff, Zulke, sought to enforce the incentive and severance terms in his oral employment

agreement under which the parties had performed for more than a year. Zulke’s employment

was for an indefinite duration, with both sides contemplating that he could be terminated for any

reason during the first year.

       ‘The Zulke court found that because the employment agreement was for an indefinite

duration, the contract was terminable at will, and therefore, Georgia’s Statute of Frauds did not

prohibit its enforcement. The Georgia law provides: “ ‘Any agreement that is not to be performed

within one year from the making thereof’ must be in writing and signed by the party to be charged

in order to be binding on the promisor.” Id. at 300, 626 (quoting Parker v. Crider Poultry, 275 Ga.

361, 361 (1) n. 1, 565 S.E.2d 797, 798 (2002)). The Zulke court found that it is of no consequence

if the employment lasts several years as long as there is some possibility the parties could have

performed the contract within a year. Id. at 300, 626. The Zulke court also found that even if the

agreement contains contingencies lasting more than one year, it is still enforceable if it could have

possibly been performed within one year. “The fact that some contingencies in a contract, such as

the second and third-year incentives in this agreement, might not come to pass if the contract is

terminated within a year does not mean that the contract containing such contingencies is

unenforceable.” Id.

       The Zulke court quoted Williston on Contracts (4th ed.), § 24:3, which set forth the black

letter law on the issue of enforcing contacts, such as the Compass – David Boshea agreement:

       Williston puts the same matter this way:

         It is well settled that the oral contracts made unenforceable by the statute because
         they are not to be performed within a year include only those which cannot be
         performed within that period. A promise which is not likely to be performed
         within a year, and which in fact is not performed within a year, is not within the

                                                  7
        Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 8 of 15



         statute if at the time the contract is made there is a possibility in law and in fact
         that full performance such as the parties intended may be completed before the
         expiration of a year. Moreover, the fact that an at-will contract of employment
         actually lasts several years does not bring the contract within the statute, since
         either party could put an end to the contract within one year, and the contract
         would thereby be fully performed.
         Zulke, 356 Ga. App. at 301, 846 S.E.2d at 627. (quoting Williston on Contracts
         (4th ed.), § 24:3 (Footnotes omitted; emphasis supplied.)

       Similarly, in Vernon v. Assurance Forensic Accounting, LLC, 333 Ga. App. 377, 774

S.E.2d 197 (2015), a former employee sued his former employer for breach of contract, seeking

unpaid commissions under a severance agreement. The Vernon court found that the oral

compensation agreement between the parties was not subject to the Statute of Frauds because it

was capable of being performed within one year even though the payment of severance did not

begin within a year of making the agreement. Id. at 387, 208. The Vernon court found that the

agreement immediately went into effect when the parties agreed to it, and the parties agreed that

severance pay would go into effect if the plaintiff was terminated because of a disagreement over

his compensation or for some other reason. Id. Thus, it was possible that the defendant could have

terminated the plaintiff the same day the parties entered into the agreement, triggering the

severance pay obligation. Id.

       Likewise, in Moshan v. PMB, LLC, 141 A.D.3d 496, 36 NYS.3d 445 (2016 N.Y. Slip Op.

05664), a former employee sued a former employer for unpaid commissions under an unsigned,

written commission agreement. The only difference between that agreement and David Boshea’s

contract is that David Boshea seeks to recover severance payments.

       Contracts that are terminable at will are capable of performance within a year (Cron
       v Hargro Fabrics, 91 NY2d 362, 367 [1998]). This includes commission
       agreements, but only to the extent they contemplate payment of commissions
       earned during the period of employment (even if paid afterward) (id. at 370).
       Plaintiff asserts that his claims are based only on the commissions he earned while
       he was employed by defendants and, as so construed, the agreement is capable of
       completion within one year.

                                                  8
        Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 9 of 15



       Id. at 497, 445 (internal citations omitted).

       David Boshea seeks severance payments he earned while employed by Compass, so the

Statute of Frauds does not bar their recovery.

       In Kieper v. Fusco Group Partners Inc., 152 A.D.3d 1030, 59 N.Y.S.3d 561 (2017), the

court reached a similar result as that in Moshan concerning commissions, stating:

         Turning first to plaintiff’s claim for unpaid commissions, at the outset, we reject
         defendants’ assertion that such claim is barred by the statute of frauds. “An
         agreement to pay an at-will employee commissions earned during the period of
         his or her employment is capable of performance within one year and does not
         violate the [s]tatute of [f]rauds” (Strauss v Fleet Mtge. Corp., 282 AD2d 736,
         736 [2001] [citations omitted]; see Cron v Hargro Fabrics, 91 NY2d 362, 371
         [1998]; Moshan v PBM, LLC, 141 AD3d 496, 497 [2016]; Gold v Benefit Plan
         Adm’rs, 233 AD2d 421, 421 [1996]). Here, the gravamen of plaintiff’s
         complaint is not about renewal commissions that accrued after his resignation
         from WorldClaim (see e.g. Gersten-Hillman Agency, Inc. v Heyman, 68 AD3d
         1284, 1287 [2009]; Guterman v RGA Accessories, 196 AD2d 785, 785 [1993];
         Warner & Whitney v Union Camp Corp., 166 AD2d 776, 776-777 [1990]).
         Rather, plaintiff seeks the payment of commissions that he claims were earned
         while he was still employed by WorldClaim (cf. Miloscia v B.R. Guest Holdings,
         LLC, 94 AD3d 563, 564 [2012]). Indeed, the complaint alleged that plaintiff,
         “[d]uring the period from approximately April 2011 to January 2012, . . . earned
         $104,525 in commissions from sales, [and] $25,000 in monthly bonuses.” Given
         that plaintiff was still employed by WorldClaim during this alleged time period,
         the statute of frauds does not bar plaintiff’s claim for unpaid commissions (see
         White v Purchasing Support, 249 AD2d 991, 991 [1998]; Murphy v CNY Fire
         Emergency Servs., 225 AD2d 1034, 1035 [1996]).
         To that end, the question distills to whether plaintiff earned the commissions
         alleged in the complaint. “ ‘Once the commission is earned, it cannot be
         forfeited’ “ (Devany v Brockway Dev., LLC, 72 AD3d 1008, 1009 [2010],
         quoting Arbeeny v Kennedy Exec. Search, Inc., 71 AD3d 177, 182 [2010]).
         “Whether a commission is earned is dependent upon the terms of the agreement
         providing for such commission” (Gennes v Yellow Book of N.Y., Inc., 23 AD3d
         520, 521 [2005] [citations omitted]).
         Kieper., 152 A.D.3d at 1031, 59 N.Y.S.3d 561.



                                                  9
       Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 10 of 15



       The Kieper court’s final comment is instructive. Once David Boshea earned the full

severance, Compass cannot claim that he forfeited the payments because the agreement was oral.

The agreement did not require David Boshea to work for three years and receive three years’

severance. Instead, the contract provided that David Boshea would accrue three years of severance

payments if he worked for three years. Just as the various employees whose cases David Boshea

cites above earned money after the first year that the courts ruled they could recover, David

Boshea, by working for over three years, accrued the full severance and can recover it because the

agreement falls outside the Statute of Frauds.

       Finally, in another case involving a claim for unpaid commissions, Johnson v. Harrywell,

Inc., 47 Ark.App. 61, 885 S.W.2d 25 (1994), the plaintiff asserted that he had entered into an oral

agreement for employment with his employer under which the employer agreed to pay him a 10

percent commission on all sales made to customers he acquired. After thirteen months of

employment, the employer discharged the plaintiff and refused to pay any further commissions on

sales to customers he acquired. The employer raised the Statute of Frauds as a bar to its obligation

to pay the commissions. The Arkansas Appellate court ruled in the plaintiff’s favor, citing an

Arkansas Supreme Court case, Township Builders, Inc. v. Kraus Construction Co., 286 Ark. 487,

491-92, 696 S.W.2d 308 (1085):

       There, the court stated that the statute of frauds applies to agreements which are
       incapable of performance within a year and that a contract is not within the
       provisions of the statute of frauds where the proof demonstrates that it was capable
       of performance within one year, even if there was a possibility or even a probability
       that it might require a longer time.
       Id. at 64, 26.

       The Johnson court also cited another Arkansas Appellate court case, Country Corner Food

& Drug, Inc. v. Reiss, 22 Ark.App. 222, 225–26, 737 S.W.2d 672 (1987), explaining its reasoning:



                                                 10
        Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 11 of 15



       [T]he statute of frauds did not apply to the employment contract in question [in that
       case] because it was for an indefinite duration. We also noted that, even if the
       statute of frauds had applied, the appellant employer would still be liable to the
       appellee employee for the entire compensation promised him in exchange for his
       services. There, the appellee had sued for the benefits of family health insurance
       coverage promised him as part of his compensation. We noted that, even in
       situations where the statute of frauds does apply, the employer is still liable for
       whatever service was rendered.
       Id. at 64, 26-27.
       Again citing County Corner, the Johnson court invoked detrimental reliance to support its

holding, stating:

       Further, in Country Corner Food & Drug, Inc. v. Reiss, 22 Ark.App. at 225–26,
       737 S.W.2d 672, we stated that an employment contract may also be taken out of
       the operation of the statute of frauds if sufficient detrimental reliance is shown;
       where one has acted to his detriment solely in reliance on an oral agreement, an
       estoppel may be raised to defeat the defense of the statute of frauds.
       Id.
       Even though the plaintiff in Johnson v. Harrywell, Inc. sought commissions earned during

a period that extended beyond a year, the statute of frauds did not bar recovery. Similarly, David

Boshea’s accrual of severance payments beyond the first year does not prevent him from

recovering the full $540,000.

       In Kalmus v. Oliver, 390 S.W.3d 586 (Tex. App. 2012), an employer fired its employee

after four years and refused to pay commissions earned. The Texas Appellate Court ruled that the

Statute of Frauds did not prevent the employee from recovering all earned commissions.

         Hopes and expectations are insufficient to show performance within a year is
         impossible. See Montgomery County, 965 S.W.2d at 503–04 (employee’s hope
         to work as long as she wanted did not show an agreement for many years of job
         security); Abatement, Inc. v. Williams, 324 S.W.3d 858, 859 (Tex.App.-Houston
         [14th Dist.] 2010, pet. denied) (“hopes and expectations are not enough to show
         performance within a year is impossible”); Chacko, 2008 WL 2390486, at *3
         (“[a] contract does not fall within the statute of frauds based on the absence of a
         requirement to complete performance within a year; the lack of any expectation
         that performance will be completed within a year; or the fact that completion
         within a year proved to be impossible in light of later circumstances”) (citing

                                                 11
       Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 12 of 15



        Beverick., 186 S.W.3d at 149–50). An employment contract that does not
        specify a definite duration or prescribe conditions from which its duration can
        be determined is presumed to be terminable at will. See, e.g., Montgomery
        County, 965 S.W.2d at 502. The evidence in this case shows only an oral at-will
        employment agreement with an indefinite duration, and such agreements do not
        fall within the statute of frauds’ one-year provision. See id. at 503 (noting that
        “[a]n employment contract for an indefinite term is considered performable
        within one year” and that vague, indefinite, and general comments cannot create
        a definite term of employment). As a result, the statute of frauds does not bar
        enforcement of the alleged agreement, and summary judgment was not
        warranted. Because we sustain appellant’s first issue, we do not reach
        appellant’s remaining arguments on appeal.
        Kalmus v. Oliver, 390 S.W.3d 586, 593 (Tex. App. 2012) (footnote omitted).

       Further, the Arkansas Appellate Court’s view of detrimental reliance and estoppel in

Johnson is also instructive. David Boshea left his employment at Energizer Holdings, Inc. for

Compass Marketing in reliance on John White’s promise to pay Boshea severance at three (3)

times his salary. David Boshea and his wife had concerns about leaving his position at Energizer,

a Fortune 100 Company where he worked as a National Accounts Director, to join a start-up and

wanted some assurances from Compass.

       In summary, Courts are unified in their view that, as long as an employment agreement is

outside of the Statute of Frauds, it does not matter if the agreement contains provisions for

severance payments or commissions paid based on length of employment for more than one year.

                BASED ON PROMISSORY ESTOPPEL, COMPASS MUST COMPLY
                 WITH ITS PROMISE TO PAY DAVID BOSHEA’S SEVERANCE

       The Kalmus v. Oliver court’s view of detrimental reliance and estoppel in Johnson is also

instructive. David Boshea left his employment at Energizer Holdings, Inc. for Compass Marketing

in reliance on John White’s promise to pay Boshea severance at three (3) times his salary. Boshea

and his wife had concerns about leaving his position at Energizer, a Fortune 100 Company, where

he was National Accounts Director, for a start-up and wanted some assurances.




                                               12
       Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 13 of 15



       In Pavel Enters. v. A.S. Johnson Co., Inc., 342 Md. 143, 674 A.2d 521 (1996), the court

set forth a four-part test for determining whether promissory estoppel would take a contract outside

the restrictions of the Statute of Frauds and noted that Maryland courts have long held that view.

“This Court has decided cases based on detrimental reliance as early as 1854, and the general

contours of the doctrine are well understood by Maryland courts. The historical development of

promissory estoppel, or detrimental reliance, in Maryland has mirrored the development

nationwide.” Pavel, 342 Md. at 164, 674 A.2d at 531. To resolve any confusion concerning the

proper means for determining whether promissory estoppel occurred, the court mandated that,

       Maryland courts are to apply the test of the Restatement (Second) of Contracts §

       90(1) (1979), which we have recast as a four-part test:

       1. a clear and definite promise;
       2. where the promisor has a reasonable expectation that the offer will induce action
       or forbearance on that part of the promisee;
       3. which does induce actual and reasonable action or forbearance by the promisee;
       and
       4. causes a detriment which can only be avoided by the enforcement of the
       premises.
       Pavel, 342 Md. at 166, 674 A.2d at 532.

       Applying the test to the facts, (1) the severance agreement constitutes a clear and definite

promise; (2) the severance agreement confirms John White’s promises to David Boshea in his

April 1, 2007 email and the May 16, 2007 offer letter; (3) based on the various documents and

promises John White made to David Boshea, Compass had to reasonably expect its offer would

induce action on David Boshea’s part; and (4) the promise induced David to stay at Compass for

almost thirteen years.




                                                13
       Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 14 of 15



       Since Compass now attempts to shirk its obligations, the detriment David Boshea suffered

by leaving a substantial position with Energizer, a prominent American company, can be avoided

only if the Court enforces the severance provision in the employment agreement.

                                           CONCLUSION

       By granting this motion in limine, the Court should allow Boshea to present evidence and

argument he is entitled to enforce the multi-year severance provision in the employment agreement

between the parties. Such an order would narrow the issues for the jury to decide at the trial.

       WHEREFORE, the plaintiff, David J. Boshea, respectfully requests this Court for an Order

allowing him to introduce evidence and argument he is entitled to enforce the multi-year severance

provision in the employment agreement between the parties and for other just relief.

                                      RESPECTFULLY SUBMITTED,

                                      /s/ Gregory J. Jordan
                                      Gregory J. Jordan (Admitted Pro Hac Vice)
                                      Jordan & Zito LLC
                                      350 N. LaSalle Drive, Suite 1100
                                      Chicago IL 60654
                                      (312) 854-7181
                                      gjordan@jz-llc.com

                                      Thomas J. Gagliardo (Bar No. 08499)
                                      Of Counsel
                                      Gilbert Employment Law, P.C.
                                      1100 Wayne Ave, Suite 900
                                      Silver Spring, Maryland 20910
                                      tgagliardo@gelawyer.com
‘




                                                14
       Case 1:21-cv-00309-ELH Document 287 Filed 11/04/24 Page 15 of 15



                               CERTIFICATE OF SERVICE

       I certify that on November 4, 2024, David J. Boshea served his Motion in Limine to Allow
David J. Boshea to Present Evidence and Argument He Is Entitled to Enforce the Multi-Year
Severance Provision in the Employment Agreement between the Parties by CM/ECF on:

                     Stephen B. Stern
                     Shannon Hayden
                     Kagan Stern Marinello & Beard, LLC
                     238 West Street
                     Annapolis, Maryland 21401
                     Email: stern@kaganstern.com
                     Email: hayden@kaganstern.com
                     Attorneys for Compass Marketing, Inc.

                                    /s/ Gregory J. Jordan
                                    Gregory J. Jordan
